       Case 4:21-cv-02982 Document 1 Filed on 09/13/21 in TXSD Page 1 of 7




                                      IN THE
                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 NORIES EVETTE MENDOZA,                         §
      Plaintiff,                                §         CA No. _________________
                                                §
 v.                                             §
                                                §             JURY DEMANDED
 CELLCO PARTNERSHIP                             §
 D/B/A VERIZON WIRELESS,                        §
 VERIZON WIRELESS SERVICES,                     §
 LLC, and VERIZON WIRELESS                      §
 TEXAS, LLC,                                    §
       Defendants.


                        PLAINTIFF’S ORIGINAL COMPLAINT

                            1. PRELIMINARY STATEMENT

1.1.   Plaintiff demands a jury for any and all issues triable to a jury. This action seeks

       compensatory and actual/economic damages; and costs and attorneys’ fees for the claims

       suffered by Plaintiff, NORIES EVETTE MENDOZA, due to CELLCO PARTNERSHIP

       D/B/A VERIZON WIRELESS, VERIZON WIRELESS TEXAS, LLC, and VERIZON

       WIRELESS SERVICES, LLC (referred to herein as “Defendants” or “VERIZON”) taking

       adverse employment actions against her ultimately resulting in the wrongful termination

       of her employment as explained herein.

1.2    This action arises under the Americans with Disabilities Act of 1990, as amended, 42

       U.S.C. Section 12112 and/or Americans with Disabilities Amendments Act of 2008 (ADA,

       ADAAA), the Texas Commission on Human Rights Act (TCHRA) (Chapter 21 of the

       Texas Labor Code, and the Family Medical Leave Act (FMLA).
       Case 4:21-cv-02982 Document 1 Filed on 09/13/21 in TXSD Page 2 of 7




                                      2. JURISDICTION

2.1.   Jurisdiction is invoked pursuant to 28 U.S.C. § 1331 (federal question) since Plaintiff is

       bringing this claim, in part, pursuant to the ADA/ADAAA and FMLA.

2.2.   The Court has personal jurisdiction over Defendants since Defendants have offices and

       agents in the Southern District of Texas and does business in Texas. The Court has pendant

       jurisdiction over claims brought under State law or the common law of the State of Texas.

                                           3. VENUE

3.1.   Venue of this action is proper in this court, pursuant to 28 U.S.C. § 1391(b), because a

       substantial part of the events or omissions giving rise to the claim occurred in this judicial

       district.

                                          4. PARTIES

4.1.   Plaintiff is a former employee of Defendant and resides in Conroe, Montgomery County,

       Texas.

4.2.   Defendants are employers qualified to do business in Texas and employ more than 50

       regular employees.

4.3.   Defendant VERIZON WIRELESS SERVICES, LLC can be served by serving its

       registered agent, CT Corporation Systems, 1999 Bryan Street, Suite 900, Dallas, Texas

       75201.

4.4.   Defendants VERIZON WIRELESS TEXAS LLC and CELLCO PARTNERSHIP d/b/a

       VERIZON WIRLESS can be served by serving their registered agent, The Corporation

       Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware,

       19801.




Plaintiff’s Original Complaint                                                                     2
      Case 4:21-cv-02982 Document 1 Filed on 09/13/21 in TXSD Page 3 of 7




                                 5. STATEMENT OF FACTS

5.1    Plaintiff worked for Defendants for over five (5) years. She was an Assistant Manager at

       the time of her termination.

5.2    Defendants terminated Plaintiff on March 1, 2021, after she notified Defendants in

       February 2020, that she suffers from a mental health disability/serious medical conditions

       and would need reasonable accommodations in the form of a leave of absence, working

       remotely, and reassignment.

5.3    Plaintiff took FMLA leave and less than one month after she returned from FMLA leave

       she was terminated.

5.4    Plaintiff suffers from bi-polar disorder, anxiety, PTSD and depression. At or near the time

       of her termination, she was under doctor’s care and was taking prescription medications to

       help treat her disability. Her conditions affected major life activities including but not

       limited to sleeping, working, driving and decision making.

5.5    Plaintiff requested reasonable accommodations and FMLA leave to be off work for three

       months to receive treatment for conditions related to her disability. Plaintiff provided

       medical documentation listing her serious medical conditions and the reasons for her need

       for accommodations. She also notified Defendants that she would be able to return to work

       in April 2020.

5.6    Plaintiff requested a reasonable accommodation explaining to Defendants that she needed

       to work from home and then she requested that she be reassigned to a position that would

       allow desk work or back-office work. She further explained that interaction with the public

       negatively affected her disability and if she was provided this accommodation, she would

       be able to work and perform all the essential functions of her job.




Plaintiff’s Original Complaint                                                                  3
       Case 4:21-cv-02982 Document 1 Filed on 09/13/21 in TXSD Page 4 of 7




5.7    When Plaintiff was due to return to work after her FMLA leave, she was not assigned back

       into a retail store (where she had worked prior to her leave) because of COVID-19

       restrictions. She was advised by Defendant that she would just “float” until in-person retail

       store work resumed. While floating, Plaintiff was required to complete training, answer

       questions and oversee the work of her team members and attend meetings. These are many

       of the essential job functions she would perform if working in person at a retail store.

5.8    Despite Plaintiff’s ability to work from home, her request for that reasonable

       accommodation was denied.

5.9    Plaintiff’s requests for reasonable accommodations to work remotely and to be reassigned

       were denied with no explanation given. Defendants did not engage in an interactive

       process with Plaintiff to see if she could be accommodated.

5.10   At this time, there were other Assistant Managers who were allowed to work remotely. In

       fact, many Assistant Managers worked remotely under Defendants’ COVID-19 protocols

       and continued to do so even after Defendant returned some of its employees to in-person

       work.

5.11   Plaintiff was wrongfully accused of violating Defendants’ Code of Conduct. Plaintiff was

       told that she was held to a different standard even though all employees Plaintiff worked

       with received the same Code of Conduct handbook.

5.12   Plaintiff suffered adverse actions when she was terminated because Defendant

       discriminated against her as a disabled employee or its perception that she was disabled

       and after she exercised her rights to take FMLA leave. Plaintiff also suffered an adverse

       action because of Defendants’ refusal to fully engage in the interactive process and

       consider all options to reasonably accommodate her before her termination.




Plaintiff’s Original Complaint                                                                    4
      Case 4:21-cv-02982 Document 1 Filed on 09/13/21 in TXSD Page 5 of 7




                                 6.         CONDITIONS PRECEDENT

6.1    All conditions precedent to jurisdiction have occurred or been complied with.

6.2    Plaintiff timely filed a Charge of Discrimination with the Equal Employment Opportunity

       Commission (“EEOC”).

6.3    This lawsuit was filed within ninety (90) days of Plaintiff receiving her Notice of Right to

       Sue from the EEOC.

                                       7.     CAUSES OF ACTION

                           Disability/Perceived Disability Discrimination and
                                  Failure to Reasonably Accommodate
                                          (ADA and TCHRA)

7.1    Plaintiff incorporates by reference all the foregoing allegations in each of the paragraphs

       above as if fully set forth herein.

7.2    Plaintiff was a member of a protected class as a qualified employee with a

       disability/perceived disability.

7.3    Plaintiff suffered from a disability/perceived disability but was still performing the

       essential functions of her job.

7.4    Plaintiff suffered adverse actions when she requested a reasonable accommodation, was

       denied without engagement in the interactive process and then was ultimately terminated

       after Defendant learned of her disability or perceived her as a disabled employee.

7.5    Defendant failed to engage in the interactive process and failed to reasonably accommodate

       Plaintiff’s disability.        Plaintiff’s rights were violated when she was not reasonably

       accommodated after making such request.




Plaintiff’s Original Complaint                                                                   5
       Case 4:21-cv-02982 Document 1 Filed on 09/13/21 in TXSD Page 6 of 7




7.6    Plaintiff alleges Defendants violated the ADA and the TCHRA when Defendant took

       adverse actions against Plaintiff, including terminating her employment, based on her

       disability/perceived disability and failed to reasonably accommodate her disability.

                                             Retaliation
                                  (ADA and TCHRA/Texas Labor Code)

7.7    Plaintiff incorporates by reference all the foregoing allegations in each of the paragraphs

       above as if fully set forth herein.

7.8    Defendants intentionally retaliated against Plaintiff after making requests for

       accommodation in violation of the ADA and TCHRA.

7.9    Defendants intentionally retaliated against Plaintiff in violation of the ADA and TCHRA

       after complaining to Defendant’s management about failure to provide a reasonable

       accommodation.

7.10   Defendants intentionally retaliated against Plaintiff because of her opposition to

       discriminatory practices (disability/perceived disability) in violation of the Texas Labor

       Code.

                                 FMLA Retaliation & Interference

7.11   Plaintiff incorporates by reference each of the facts and allegations set forth above as if

       fully set forth herein.

7.12   Plaintiff was qualified for medical leave under the FMLA.

7.13   Plaintiff invoked her right to FMLA-qualifying leave.

7.14   Plaintiff suffered an adverse action causally related to her invocation of FMLA rights when

       her employment was terminated.

7.15   Plaintiff was retaliated against after taking FMLA leave and/or exercising her rights under

       the FMLA.



Plaintiff’s Original Complaint                                                                  6
        Case 4:21-cv-02982 Document 1 Filed on 09/13/21 in TXSD Page 7 of 7




7.16    Defendants took an adverse action interfering with Plaintiff’s rights to take FMLA leave.

                                          8.     PRAYER

WHEREFORE, Plaintiff prays the Court order to award such relief including the following:

8.1.1   Award Plaintiff actual damages;

8.1.2   Order Defendant to pay Plaintiff back pay and front pay and benefits;

8.1.3   Award Plaintiff compensatory damages for mental anguish;

8.1.4   Award Plaintiff punitive damages to be determined by the trier of fact;

8.1.5   Grant Plaintiff pre-judgment and post-judgment interest;

8.1.6   Order Defendants to pay Plaintiff’s costs and attorney’s fees in this action; and,

8.1.7   Order and grant such other relief as is proper and just.



                                                              Respectfully Submitted,

                                                              /s/ Jacques P. Leeds
                                                              Jacques P. Leeds
                                                              Federal I.D. No. 2526879
                                                              State Bar No. 24092678
                                                              LEEDS LAW FIRM, PLLC
                                                              700 Milam Street, Suite 1300
                                                              Houston, TX 77002
                                                              Telephone: 713-492-2906
                                                              Facsimile: 832-787-1020
                                                              jacques@jleedslawfirm.com
                                                              Attorney for Plaintiff




Plaintiff’s Original Complaint                                                                  7
